8:15-cr-00020-JFB-TDT            Doc # 104        Filed: 11/23/15       Page 1 of 1 - Page ID # 259



                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                                )
                                                         )               8:15CR20
                        Plaintiff,                       )
                                                         )
        vs.                                              )                ORDER
                                                         )
CRISPIN HERRA-HERRA,                                     )
                                                         )
                        Defendant.                       )



        This matter is before the court on the motion to continue by defendant Crispin Herra-Herra (Herra-

Herra) (Filing No. 103). Herra-Herra seeks a continuance of the trial scheduled for November 30, 2015.

Herra-Herra's counsel represents that government's counsel has no objection to the motion. Upon

consideration, the motion will be granted.

        IT IS ORDERED:

        1.      Herra-Herra's motion to continue trial (Filing No. 103) is granted.

        2.      Trial of this matter is re-scheduled for January 25, 2016, before Senior Judge Joseph F.

Bataillon and a jury. The ends of justice have been served by granting such motion and outweigh the

interests of the public and the defendant in a speedy trial. The additional time arising as a result of the

granting of the motion, i.e., the time between November 23, 2015, and January 25, 2016, shall be

deemed excludable time in any computation of time under the requirement of the Speedy Trial Act for the

reason that defendant's counsel requires additional time to adequately prepare the case. The failure to

grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).

        DATED this 23rd day of November, 2015.

                                                         BY THE COURT:

                                                         s/ Thomas D. Thalken
                                                         United States Magistrate Judge
